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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )               Case No. 8:12CR15
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )
                                          )                      ORDER
SAVANNAH RAVE,                            )
                                          )
                     Defendant.           )

       This case came before the Court on a Petition for Action on Conditions of Pretrial
Release (#104). On July 3, 2012 Pretrial Services Officer Todd Beacom submitted a
Petition for Action on Conditions of Pretrial Release alleging that Defendant had violated
conditions of release as follows:

       8. The defendant shall:
               (d) Maintain or actively seek employment.
               (n) Not possess or use a narcotic drug or other controlled substances
       defined in 21 .U.S.C. § 802 unless prescribed by a licensed medical
       practitioner.
               (q) Obtain a substance abuse treatment evaluation and/or participate
       in a program of inpatient or outpatient substance abuse therapy and
       counseling if deemed advisable by the supervising officer; and pay all or a
       portion of the treatment in an amount and on a schedule to be arranged by
       the supervising officer. Copies are to be given to all counsel and the court.

       Ms. Rave has failed to locate employed (sic) or provide proof of job seeking.
       [Violation of Condition #8(d)].

       Ms. Rave provided urine sample on April 19, 2012 in the Pretrial Services
       Office and it tested positive for methamphetamine usage. [Violation of
       Condition #8(n)]

       On May 29, 2012 this officer directed the defendant to report to the HEART
       program in Santee, NE to conduct a substance abuse evaluation. She has
       failed to provide proof of completion of this evaluation. [Violation of
       Condition 8(q)]
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A warrant for Defendant’s arrest was issued.
       Defendant appeared before the undersigned magistrate on July 25, 2012.
Desirae M. Solomon represented Defendant. Douglas Semisch, Assistant United States
Attorney, represented the Government. After being advised of the nature of the allegations,
rights, and the consequences if the allegations were found to be true, Defendant admitted
the allegations. The Court took judicial notice of the Memorandum of Pretrial Services
Officer Todd Beacom dated July 24, 2012. The Court finds the allegations set out in the
petition are generally true and finds the Defendant violated the conditions of release.
       After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
(#35) should be revoked. I find Defendant is unlikely to abide by conditions of release. I
find that there is no condition or combinations of conditions that would reasonably assure
Defendant’s presence for further proceedings, or the safety of the community if Defendant
were to be released upon conditions.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#104) is granted;
       2. The February 15, 2012 Order Setting Conditions of Release (#35) is hereby
revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentence or being held in custody pending appeal.
Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of the Court of the United States or on the request of an attorney for the
Government, the person in charge of the correctional facility shall deliver Defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.
       Dated this 25th day of July 2012.

                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
